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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS



STATE OF NEW JERSEY, et al.

                                 Plaintiffs,
                                                                     No. 1:25-cv-10139
        v.

DONALD J. TRUMP, et al.

                                 Defendants.



       MOTION FOR ADMISSION PRO HAC VICE OF DANIEL P. MOSTELLER

        Pursuant to Local Rule 83.5.3, I, Gerard J. Cedrone, a member of the bar of this Court and

counsel of record for Plaintiff Commonwealth of Massachusetts, hereby move the admission pro hac

vice of attorney Daniel P. Mosteller, a member of the bar of North Carolina and the District of Co-

lumbia, to serve as counsel for Plaintiff the State of North Carolina in this matter.

        As set forth in the accompanying certification, Daniel P. Mosteller is (1) a member in good

standing of the bar of every jurisdiction to which he has been admitted to practice, (2) is not the sub-

ject of disciplinary proceedings pending in any jurisdictions in which he is a member of the bar,

(3) has not previously had a pro hac vice admission to this Court (or other admission for a limited

purpose under Local Rule 83.5.3) revoked for misconduct, and (4) has read and agreed to comply

with the Local Rules of this District.

        WHEREFORE, this Court should admit attorney Daniel P. Mosteller pro hac vice to the

bar of this Court.
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January 21, 2025                       Respectfully submitted.

                                       ANDREA JOY CAMPBELL
                                        ATTORNEY GENERAL OF MASSACHUSETTS

                                        /s/ Gerard J. Cedrone
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                                        Massachusetts




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